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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA STATE CONFERENCE OF
 THE NAACP, et al.,

                           Plaintiffs,
          v.
                                                          Case No. 1:22-cv-00339-SPB
 LEIGH M. CHAPMAN, in her official capacity as
 Acting Secretary of the Commonwealth, et al.,

                          Defendants.


               PLAINTIFFS’ OPPOSITION TO MOTION TO INTERVENE

      Movants are individual voters and partisan political entities (the “Individual

Voters” and the “Republican Committees,” respectively) who seek to intervene in this

matter so that they may oppose counting the votes of qualified Pennsylvania voters

on the basis of an immaterial paperwork error.1

      Plaintiffs take no position on intervention by the Republican Committees.

Plaintiffs note, however, that the partisan valence of the unopened mail ballots at

issue is unknown, and that the Republican Committees’ interest in preventing ballots

from being counted at this stage is especially unclear. See, e.g., @TheRecount, Twitter

(Nov. 9, 2022, at 12:00 a.m.), https://bit.ly/3G5Or63 (Republican gubernatorial

nominee Doug Mastriano telling supporters to “have faith and have patience,”

because “we’re going to wait until every vote counts”).



      1 The Individual Voters are Ball, Bee, Biro, Daniel, DeLuca, Farber, Kalcevic,
Sicilano-Biancaniello, and Streib, and the Republican Committees are the Republican
National Committee, National Republican Congressional Committee, and
Republican Party of Pennsylvania.
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       As to the Individual Voters, intervention should be denied. Their votes have

already been counted, and they suffer no cognizable injury from also counting the

timely-received mail ballots of other qualified and registered Pennsylvania voters.

The   Individual    Voters’   generalized   interest     in   Pennsylvania   elections   is

indistinguishable from that of any other voter in the Commonwealth, and is

insufficient to support intervention.

                                     ARGUMENT

       Intervention as of right is proper if “(1) the application for intervention is

timely; (2) the applicant has a sufficient interest in the litigation; (3) the interest may

be affected or impaired, as a practical matter by the disposition of the action; and

(4) the interest is not adequately represented by an existing party in the litigation.”

Harris v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987). The Individual Voters cannot

satisfy the latter three elements of that standard.

       To demonstrate an interest in the action sufficient to intervene, the Individual

Voters must establish a “significantly protectable interest.” Donaldson v. United

States, 400 U.S. 517, 531 (1971). Such an interest must be “specific to” the intervenors

and “directly affected in a substantially concrete fashion by the relief

sought.” Kleissler v. U.S. Forest Serv., 157 F.3d 964, 972 (3d Cir. 1998). By contrast,

“interests of a general and indefinite character” do not suffice, Mountain Top Condo.

Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995); see also

id. (“The applicant must demonstrate that there is a tangible threat to a legally

cognizable interest to have the right to intervene.”).




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      Neither of the Individual Voters’ proffered interests is sufficient, nor have the

Individual Voters identified harm to any valid interests they might possess.

      First, the Individual Voters’ claimed interest in “protecting the weight of their

votes from the dilution that would result if election officials are permitted to count

invalid ballots in contravention of the date requirement” is insufficient. ECF 30, at 3;

see also id. at 5, 12 (citing Reynolds v. Sims, 377 U.S. 553, 555 (1964)). The interest

in protecting against actual vote dilution in foundational one-person, one-vote cases

like Reynolds “is concerned with votes being weighed differently.” Bognet v. Sec’y of

Pa., 980 F.3d 336, 355 (3d Cir. 2020), vacated sub nom. as moot, Bognet v.

Degraffenreid, 141 S. Ct. 2508 (Mem.) (2021).2 In contrast, the supposed “dilution of

lawfully cast ballots by the ‘unlawful’ counting of invalidly cast ballots,” is not a

cognizable harm. Id.

      Here, the Individual Voters fail to establish how counting every qualified

voter’s ballot works any particular harm on them. This case does not involve under-

or over-populated districts, or any alleged scheme that underweights the votes of

certain discernable groups of voters, such as racial minorities. Nor does it involve

different counties or jurisdictions applying different voting rules in the same election,

as in Bush v. Gore, the other inapposite case they cite. ECF 30, at 12; see 531 U.S. 98,

106, 109 (2000). The Individual Voters have not argued that they were denied an



2 Courts can and do consider decisions that have been vacated as moot to be
“persuasive authority.” Polychrome Int’l Corp. v. Krigger, 5 F.3d 1522, 1534 (3d Cir.
1993). See also, e.g., Hirschfeld v. Bureau of Alcohol, Firearms, Tobacco & Explosives,
14 F.4th 322, 328 (4th Cir. 2021); Hayes v. Osage Mins. Council, 699 F. App’x 799,
804 (10th Cir. 2017); Brown v. Kelly, 609 F.3d 467, 476–77 (2d Cir. 2010).


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opportunity to vote, or that their ballots were not counted or were weighted

differently than other voters’ ballots. Instead, they simply assert, without

explanation, that some form of “dilution … would result if election officials are

permitted to count invalid ballots.” ECF 30, at 3. Such complaints about “state actors

counting ballots in violation of state election law” are “not a concrete harm.” Bognet,

980 F.3d at 354. Instead, they are just generalized grievances, quickly repackaged as

“vote dilution” claims, which Courts have repeatedly rejected. See Bognet, 980 F.3d

at 356–57; see also Wood v. Raffensperger, 981 F.3d 1307, 1314–15 (11th Cir. 2020);

King v. Whitmer, 505 F.Supp.3d 720, 737–39 & n.11 (E.D. Mich. 2020); Bowyer v.

Ducey, 506 F.Supp.3d 699, 711–12 (D. Ariz. 2020); Paher v. Cegavske, No. 320-cv-

00243-MMD-WGC, 2020 WL 2748301, at *4 (D. Nev. May 27, 2020); see also Am. C.R.

Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D. Tex. 2015).

      The bottom line is that the Individual Voters do not and cannot point to any

individualized interest they might have in ensuring that other people’s ballots are

invalidated because of a trivial mistake in handwriting an inconsequential date on

the mail ballot envelope. Even indulging the premise that “improperly” cast votes

might somehow cancel out “properly” cast votes, the individual voters still would not

suffer any specific harm that is different from every other voter. Wood, 981 F.3d at

1314 (“‘no single voter is specifically disadvantaged’ if a vote is counted improperly,

even if the error might have a ‘mathematical impact on the final tally and thus on

the proportional effect of every vote.’” (quoting Bognet, 980 F.3d at 356)); see also Gill

v. Whitford, 138 S. Ct. 1916, 1929 (2018) (no standing where plaintiffs did not point




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to “facts showing disadvantage to themselves as individuals” as distinct from any

other voter).

      Second, the Individual Voters’ reliance on a purportedly “particularized

interest” in “knowing the exact requirements for such mail-in ballots to be counted,”

ECF 30, at 5, and in “defend[ing] the General Assembly’s duly enacted laws,” ECF

30, at 1, fails. Those interests are not “specific to them.” Kleissler, 157 F.3d at 972.

Rather, a proposed private intervenor’s interest in “vindicat[ing] the … validity of a

generally applicable [state] law” is a classic example of a “generalized grievance.”

Hollingsworth v. Perry, 570 U.S. 693, 706 (2013); see also United States v. Fla., No.

4:12-cv-285-RH/CAS, 2012 WL 13034013, at *1 (N.D. Fla. Nov. 6, 2012) (interest of

organizations and their members in ensuring confidence in the election process

through accurate voting rolls are generalized interests that are “the same for the

proposed intervenors … as for every other registered voter in the state” and thus

“plainly do not afford a voter … a right to intervene under Rule 24(a)”); Wisc. Right

to Life Political Action Comm. v. Brennan, No. 09-cv-764-VIS, 2010 WL 933809, at *3

(W.D. Wis. Mar. 11, 2010) (“generalized, public policy interests are insufficient to

create [the] direct, substantial interest required”).

      Nothing more is asserted here. Without any showing that they have been or

will be deprived of the right to vote, the Individual Voters’ generalized interest in

“maintaining clarity and certainty” about the requirements to “exercise their

statutory right to vote” (ECF 30, at 4) is the same as the interest shared by all

Pennsylvania voters and the public at large. Granting intervention on such a basis




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would allow “anyone with an interest—however broad or universal—to intervene in

any lawsuit in which the government is a party” and the case touches upon voting.

E.g., Sokaogon Chippewa Cmty. v. Babbitt, 214 F.3d 941, 948 (7th Cir. 2000).

      In sum, the Individual Voters do not point to any significantly protectable

interest in this matter, let alone one that might be impaired by the relief requested

here. Because the interests they point to are either not cognizable at all, or else

indistinguishable from the general interests of the public, the Individual Voters also

fail to demonstrate why their own local county boards of elections, who are named

defendants here, cannot adequately represent any valid interest they might have.

Nor in any case do the Individual Voters explain why any of their supposed interests

would not be adequately represented by the Republican Committees (and their

shared counsel), who avowedly seek the same goal as the Individual Voters—namely

preventing timely-received mail ballots, cast by qualified, registered voters from

across the Commonwealth, from being counted due to a meaningless paperwork error.

      This Court should deny the Individual Voters’ request for permissive

intervention as well. Such intervention is proper when a movant “has a claim or

defense that shares with the main action a common question of law or fact.” Fed. R.

Civ. P. 24(b). The decision to grant or deny permissive intervention is highly

discretionary, and includes consideration of “whether the intervention will unduly

delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

24(b)(3). Here, the inclusion as parties of numerous individuals with no concrete stake

in the litigation would “consume additional resources of the court and the parties”




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while offering zero “corresponding benefit to existing litigants, the courts, or the

process.” Stuart v. Huff, 706 F.3d 345, 355 (4th Cir. 2013). The Individual Voters

should seek leave to file an amicus brief at an appropriate moment if they wish to

“present their views” to this Court. Id.

                                   CONCLUSION

      This Court should deny the Individual Voters’ motion to intervene.



 Dated: November 10, 2022                      Respectfully submitted,

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